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                                  IN T H E U N I T E D S T A T E S D I S T R I C T C O U R T
                                  FOR THE EASTERN DISTRICT OF VIRGINIA


                             Request to Use the Court?s Evidence Presentation System

                   United States v. Walter Rubio-Lemus                            1:21-cr-260-009
Case Name:                                                   Case N u m b e r :
                                                                                  $                   e

 I hereby request the use o f the court?s evidence presentation system and permission to bring a
 laptop computer into the courthouse to utilize with the system. I acknowledge that I have read,
understand, and agree to follow all o f the guidance available to me on the court?s website
regarding usage o f the presentation system and my computer, as well as those items specifically
addressed below:


      I f necessary, I w i l l schedule a n orientation to ensure that I have all equipment necessary and
    u n d e r s t a n d h o w the system operates. I must obtain w r i t t e n authorization f r o m chambers to
     b r i n g a l a p t o p c o m p u t e r to the scheduled orientation. Orientation provides instruction on use
     o f the court?s evidence presentation system and an o p p o r t u n i t y f o r testing m y laptop
     computer connections. Practicing presentations and preparing witnesses are not authorized
     without court approval.

e    The court does not p r o v i d e any equipment f o r in-court presentations such as scanned
     documents, animations, graphics, audio and video files f r o m V H S , CD, D V D , Blu-ray, o r
     external drives like a U S B t h u m b drive. A l l files must be presented f r o m m y laptop
     computer.


e    l a m responsible f o r operating the evidence presentation system, and court employees are not
     authorized to operate m y laptop computer. M y staff, litigation support contractors, and I are
     not authorized to remove, relocate, or reconfigure any o f the court?s evidence presentation
     system equipment.


e    W i - F i o r any other wireless access to data, webcams, and any recording capabilities o n m y
     l a p t o p c o m p u t e r must be disabled while in the courthouse. V i s i b l e evidence, such as red
     tape, m a y be placed over the webcam to prevent video recording.


e    Internet service is not provided by the court i n the courtroom.


I further agree, as directed by the court, to make any approved system available for, and assist
with, inspection by court staff.

                                                                                      January 9, 2024

                               (Signature)                                                         (Date)
o d d S. B a l d w i n                                                                38198


                         (Typed o r Printed Name)                                             ( V A Bar Number)
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         Request f o r A u t h o r i z a t i o n to b r i n g electronic device(s) into the
         United States District C o u r t f o r the Eastern District of Virginia

        The f o l l o w i n g named person(s) is authorized to bring the below described
        electronic device(s) into the United States District Court for the Eastern District
        o f V i r g i n i a on the date(s) specified:
                                                         Todd B a l d w i n
        A u t h o r i z e d Person(s):




                                                         iPad and cell phone

        E l e c t r o n i c Device(s):                   +       s




                                                         legal research and scheduling d u r i n g trial

        Purpose and Location O f Use:
                                                         United States v. Walter R u b i o - L e m u s
        Case N a m e :
                                                         1:21-cr-260-009
        Case No.:
                                                         January 10 and 11,2024
        Date(s) Authorized:
                                                                                  Xx

        I T Clearance Waived:                            ______-(YES)                         (NO)

                                                  A P P R O V E D BY:


Date:
                                                  United States District/Magistrate/Bankruptcy Judge


A copy o f this signed a u t h o r i z a t i o n m u s t be presented u p o n e n t e r i n g the courthouse.

 I T Clearance:                                                                         _                  ?   ?     ?
                                         I T Staff M e m b e r                                             Date(s)


         I T clearance m u s t be completed, unless w a i v e d , before c o u r t appearance.
